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October 15, 2024
VIA ECF

Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007

        RE:      Authors Guild v. OpenAI Inc., 23-cv-8292 (S.D.N.Y.) and Alter v. OpenAI Inc.,
                 23-cv-10211 (S.D.N.Y.): Entry of a Deposition Coordination Protocol

Dear Judge Wang:

        Pursuant to Rule II(b) of Your Honor’s Individual Practices, Plaintiffs seek a conference
to request the entry of their proposed deposition coordination protocol, attached hereto as
Exhibit A. 1 Plaintiffs’ proposed protocol (a) requires coordination between the Class Cases (in
S.D.N.Y. and N.D. Cal.), and separately among the News Cases, 2 but not omnibus coordination
among all the cases; and (b) sets sensible parameters to ensure depositions are efficient but
meaningful. Defendants’ proposal to have all cases coordinated sets unreasonable constraints on
all Plaintiffs’ ability to develop their case. See Ex. B. For the following reasons, Class Plaintiffs
respectfully request that the Court enter their proposed deposition protocol.

        Deposition coordination across all open copyright cases against OpenAI is impractical.
Defendants seek coordination between the Class and News Cases—literally all open copyright
cases pending against OpenAI—based on the purported similarity among the cases. This is
inefficient, will prejudice Plaintiffs, and ensure that the parties spend far more time on dealing
with coordination issues than time spent actually deposing witnesses and moving these cases
forward.

       OpenAI has been sued a lot for infringement of intellectual property, much in the way that
Apple or Samsung face patent infringement lawsuits. The answer has never been that Apple’s
Chief Technology Officer gets deposed once in all cases alleging patent infringement against the
iPhone, nor is answer the right answer here to force all copyright plaintiffs—no matter how

1
 The parties have met and conferred about this relief and did not reach agreement.
2
 The Class Cases are the S.D.N.Y. Class Cases (Authors Guild et al. v. OpenAI Inc. et al., (S.D.N.Y. No. 1:23-cv-
8292), and Alter et al. v. OpenAI Inc. et al., (S.D.N.Y. No. 1:23-cv-10211)), and the California Cases (Tremblay, et
al. v. OpenAI, Inc., et al., (N.D. Cal. No. 3:23-cv-03223); Silverman, et al. v. OpenAI, Inc, et al., (N.D. Cal. No.
4:23-cv-03416); Chabon, et al. v. OpenAI, Inc, et al., (N.D. Cal. No. 4:23-cv-04625)). The News Cases are The New
York Times Co. v. Microsoft Corp., et al., (S.D.N.Y. No. 1:23-cv-11195) and Daily News, LP, et al. v. Microsoft
Corp., et al., (S.D.N.Y. No. 1-24-cv-3285).
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different the case—to share time and coordinate deposition schedules across all open cases.

        The reality is that the Class Cases, focused on books, are sufficiently different from the
News Cases, focused on news articles, that coordination across those two groups of cases simply
does not make sense. For one thing, the training data at issue in the Class Cases is different from
the News Cases. OpenAI obtained books datasets from pirate websites. By contrast, The Times
alleges that OpenAI “scraped” articles from its website. N.Y. Times, Dkt. 170 ¶ 160. The different
training data at issue will affect not only the questions asked at depositions, but also the deponents
they prioritize. The books datasets were compiled and created by particular individuals on
particular teams through distinct processes. Author Plaintiffs will prioritize these deponents and
questions about this particular work; News Plaintiffs may not. Those differences undercut the
value of forced coordination between the two sets of cases.

        In fact, Defendants agree that discovery between the Class Cases and News Cases will
diverge in key ways. For instance, OpenAI admitted a few months back that discovery in the New
York Times action would “differ substantially” from discovery in the Class Cases. N.Y. Times, 23-
CV-11195, Dkt. 72 ¶ 42 (S.D.N.Y. (Mar. 8, 2024)). That is why OpenAI has refused to cross-
produce documents produced in the NY Times Action in the Class Cases. See, e.g., Ex. C at 3
(refusing to produce documents produced in the NY Times action “because of differences between
the two cases.”).

        Lumping all open copyright cases against OpenAI into a single deposition protocol will
also be administratively unworkable. It will force the parties and attorneys across eight different
consolidated cases to identify which depositions to take and when, then force attorneys at over ten
different law firms to identify times that work for both the parties and the Court. This level of
coordination makes identifying a date for a single deposition a monumental task. But this level of
coordination is not necessary. A far more logical solution is to treat the Class Cases and News
Cases separately, a solution that still meaningfully minimizes the burden on OpenAI and Microsoft
witnesses, while avoiding the administrative difficulties of Defendants’ kitchen-sink deposition
protocol.

         In cases like this one, courts favor informal coordination over formal ordered coordination.
Here, that would mean that the Class Plaintiffs’ and News Plaintiffs’ make good faith efforts to
schedule depositions of the same witness on back-to-back days between the two sets of cases,
when feasible and possible. Steuben Foods, Inc. v. Oystar Group, 13- CV-1118, 2015 WL 9275748
at *1-2 (W.D.N.Y. Dec. 21, 2015); Or. Laborers Employers Pension Tr. Fund v. Maxar Techs.,
19-CV-124, 2022 WL 684168 at *3 (D. Colo. Mar. 8, 2022) (“While the Court expects counsel to
. . . use their best efforts to schedule depositions on back-to-back days, ordering the same when
scheduling depositions involves coordinating numerous attorney and witness schedules across
multiple states, would not be practical.”); Barrett v. Apple Inc., 20-CV-4812 Dkt 87, at *3 (N.D.
Cal. Feb. 25, 2022) (encouraging but not requiring parties to coordinate scheduling a witness’s
multiple depositions). Plaintiffs are mindful of Defendants’ concerns about its witnesses being
deposed multiple times, but multiple depositions are not uncommon for corporations sued by
multiple parties asserting disparate intellectual property claims about the same or similar
technology. And any burden of being deposed twice does not outweigh the prejudice to Plaintiffs.
See KGK Jewelry LLC v. ESDNetwork, No. 11-CV-9236, 2014 WL 7333291, at *2 (S.D.N.Y. Dec.
24, 2014) (“[T]he benefits of efficiency can never be purchased at the cost of fairness.”) (quoting
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Malcolm v. Nat’l Gypsum Co., 995 F.2d 346, 350 (2d Cir. 1993)). News and Class Plaintiffs should
not be required to coordinate, or at a minimum, should be allowed to take several depositions out
of order as “safety valves.”

       A 280-hour cap on depositions taken by Class Plaintiffs is proportional to the needs of
the case. These are complicated cases involving novel technologies in a rapidly evolving industry.
To understand those technologies, Plaintiffs will seek testimony about how the technologies were
developed and how they work, obtained through depositions. Even a single one of these cases
would therefore demand an unusual number of depositions. Instead, between the Class Cases and
News Cases, there are five groups of plaintiffs and two groups of defendants. A 280-hour cap is
well within the range of reasonableness for two sets of coordinated, complex class actions like the
Class Cases here. E.g., In re Parmalat Sec. Litig., No. 04-CV-30 Dkt. 414 (S.D.N.Y. Mar. 6, 2006)
(900 hours); In re Pfizer Sec. Litig., No. 04-CV-9866 Dkt. 223 (S.D.N.Y. Aug. 20, 2010) (600
hours); In re Facebook, Inc. Consumer Privacy User Profile Litig., 3:18-MD-2843, Dkt. 1139
(N.D. Cal. Jun. 21, 2023) (306 hours); Wausau Bus. Ins. Co. v. Turner Const. Co., 204 F.R.D. 248,
250 (S.D.N.Y. 2001) (“hundreds of hours”).

        Plaintiffs’ proposed hours cap is also reasonable in light of the number of relevant
witnesses. Defendants have together agreed to produce documents from around 40 custodians, 16
of which are identified in Rule 26(a) disclosures. Author Plaintiffs and Defendants have
subpoenaed an additional 20 third parties, on top of subpoenas served in the N.D. Cal. Cases. If
just a fraction of those parties are deposed within the default seven-hour limit, depositions will
exceed 280 hours. Moreover, Class Plaintiffs’ proposed cap also includes time for depositions
taken under Rule 30(b)(6), including a custodial and substantive Rule 30(b)(6) deposition (i.e.,
two depositions each) from the OpenAI Defendants and Microsoft. Plaintiffs’ request for 280
hours is reasonable, and reflects our intention to litigate the case as efficiently as possible.

         The Court should reject Defendants’ proposed per-witness limits. For many of the same
reasons, 8 hours per witness is unworkable. Several of Defendants’ deponents have knowledge
that stretches across all aspects of the case, from obtaining copyrighted material, to the intricacies
of OpenAI’s LLMs, the relationship with Microsoft, and the benefits OpenAI has reaped from its
infringement. Such individuals will likely require more than eight hours of testimony, especially
to multiple groups of plaintiffs. Notably, many of these people are the same individuals whose
testimony Defendants seek to restrict even more: OpenAI’s C-Suite executives. Limiting those
witnesses’ depositions would severely hamstring Plaintiffs’ case. It would moreover be premature:
if Defendants claim deposing a particular witness is unduly burdensome, they should substantiate
that claim with respect to each witness by seeking a protective order at the appropriate time, rather
than seeking blanket protection through a deposition coordination.

        In any event, restrictive per-witness caps are unnecessary here. The “tight time limits . . .
herein provide adequate incentive for all parties to conduct depositions as expeditiously as
possible.” Parmalat, Dkt. 414; see Pfizer Dkt. 223. Plaintiffs’ proposal—10 hours among the Class
Cases—strikes a fair middle ground; if the Court orders Author Plaintiffs to coordinate with News
Plaintiffs, that number should be expanded further. Pierre v. City of New York, 2022 WL 2384150,
at *1 (S.D.N.Y. July 1, 2022) (granting additional deposition for a witness because, in “multi-party
cases, the need for each party to examine the witness may warrant additional time”).
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        Defendants’ proposed limitations on Rule 30(b)(6) depositions are improper and should
be rejected. Defendants ask that Plaintiffs in the Class and News Cases take a complete Rule
30(b)(6) deposition of the Defendants in 21 hours. That is not possible. The details of Defendants’
proposal only magnify those issues. Defendants allow themselves almost unlimited leeway to limit
Rule 30(b)(6) time. To take a few examples: Because they offer no minimum for 30(b)(6) time,
Defendants could designate a single 30(b)(6) witness on all topics across all cases, requiring under
their proposal that all Plaintiffs to complete 30(b)(6) questioning in 12 hours. Worse, their unified
hours cap for personal and representative depositions would let Defendants “curtail 30(b)(6)
examinations by designating as a 30(b)(6) witness a person who previously testified for [8] hours
as an individual and has only [4] hour[s] left on his or her presumptive [12]-hour clock,” restricting
30(b)(6) time to a total of 4 hours across all cases. Sabre v. First Dominion Capital, 01-CV-2145,
2001 WL 1590544 at *1 (S.D.N.Y. Dec. 10, 2001). Conversely, “to limit the testimony of an
individual,” Defendants could “designat[e] the individual as a 30(b)(6) witness; under
[Defendants’ proposal,] every minute spent conducting the 30(b)(6) deposition would be deducted
from the time available to probe the witness’s individual knowledge.” Id. These attempts to shield
themselves from questioning are directly contrary to the Federal Rules, id.; Plaintiffs’ proposal
addresses them both.

        Plaintiffs should be permitted to take preliminary custodial Rule 30(b)(6) depositions of
Defendants. This will significantly streamline discovery. It was discussed at the parties’ most
recent conference, see Sep. 12 Hearing Tr. 41, 51, 82-83, and even ordered by Judge Alsup in a
similar LLM copyright case in the N.D. Cal. Ex. D at 10-11. Early custodial 30(b)(6) depositions
are a common practice in large cases. See, e.g., Pfizer, Dkt. 223 (authorizing the parties to take
“30(b)(6) depositions concerning non-case specific issues such as corporate structure, corporate
filing systems, etc.” early); In re Zoloft, 2:12-MD-2342, Dkt. 287 (E.D. Pa. Nov. 16, 2012)
(ordering “initial 30(b)(6) depositions on ESI [and] corporate organization/structure”); Durst v.
Zimmer Biomet Holdings, Inc., 19-CV-790, Dkt. 6 (S.D.N.Y. Jan. 20, 2019) (ordering an early
30(b)(6) deposition “on the topic of corporate organization and ESI”). And it is particularly critical
here, as Defendants have consistently failed to answer basic questions about repositories, e.g.,
Ex. E, or produce foundational documents evidencing corporate structure. E.g., Ex. F. An early
30(b)(6) deposition will provide needed clarity and limit the disputes the parties bring to the Court.

        Defendants may not tell Plaintiffs how to spend their hours. Defendants seek to limit the
number of hours Plaintiffs may depose each Defendant—that is, to limit how much time can be
spent examining OpenAI witnesses versus Microsoft witnesses. There is no reason why
Defendants should have a say on how Plaintiffs use their time under the deposition cap. Such limits
would “hamstring Plaintiffs’ ability to prove their case . . . . Plaintiffs’ proposal, by contrast,
preserves the ability of both sides to make deposition decisions based on their specific needs to
prove their claims or defenses.” United States v. Am. Airlines Grp., 1:21-CV-11558, Dkt. 65
(D. Mass. Nov. 19, 2021) and Dkt. 75 (D. Mass. Nov. 29, 2021) (rejecting defendants’ attempt to
“dictate how Plaintiffs must allocate their depositions”).

         250 hours for Defendants to take depositions is sufficient here. Defendants argue that
more hours are warranted for depositions of Plaintiffs than of Defendants. Not so. This case will
rise or fall on Defendants’ conduct—whether OpenAI’s mass reproduction and exploitation of
authors’ works constituted copyright infringement, whether OpenAI conduct constitutes fair use,
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whether authors’ works were in OpenAI training dataset, and whether Microsoft knew of the
contents of OpenAI’s training dataset. While Plaintiffs are the authors and owners of books
allegedly used to train OpenAI’s models, they were not involved in the creation of OpenAI’s large
language models or other issues principally in dispute in this case. Given their limited direct
involvement in the central issues in the case, class plaintiff depositions regularly take only 3 or 4
hours each. Carlin v. Daily Am., Inc., 09-CV-430, Dkt. 542 (E.D. Cal. Jan. 29, 2018) (limiting
class plaintiff depositions to 4 hours); Onate v. AHRC Health Care, Inc., 20-CV-8292, 2023 WL
6973734 at *3 (S.D.N.Y. Oct. 23, 2023) (3 hours); Severino v. Avondale Care Grp., 1:21-CV-
10720, Dkt. 259 at *2 (S.D.N.Y. May 16, 2023) (4 hours). Even if Defendants depose each of
those individuals for 4 hours, at 250 hours, they will have over 50 hours left over for further
questioning or additional deponents. 250 hours is more than enough for Defendants to build out
their defenses.

         Defendants must cross-produce documents across coordinated cases. To the extent the
Court requires coordination, whether with the N.D. Cal. case or the News Cases, Defendants must
cross-produce documents across the cases in which depositions are coordinated. Defendants
contend that cross-production is “outside the scope of this deposition protocol.” Ex. B. To the
contrary, those issues go hand-in-hand. First, coordination assumes similarities between the cases,
and therefore overlapping documents. And second, Plaintiffs cannot efficiently coordinate
depositions unless they are making decisions based on the same information. That is why cross-
production is standard where parties are coordinating discovery. See Brown v. Google, 20-CV-
3664, Dkt. 243 (N.D. Cal. Aug. 12, 2021) (requiring defendant to “produce across both Matters all
documents of Overlapping Custodians that are produced in either action” to facilitate deposition
coordination). For that reason, if the Court requires coordination with the N.D. Cal. Cases, OpenAI
should cross-produce “all documents and written discovery,” with two exceptions: documents that
relate only to the California Unfair Competition Law, and documents specific to Microsoft’s
liability. Ex. A. By carving out those documents, which are relevant only to the N.D. Cal. and
S.D.N.Y. cases, respectively, Author Plaintiffs are seeking production only of documents relevant
to their case, consistent with Judge Illman’s decision in the N.D. Cal. action. Tremblay, 3:23-CV-
3223, Dkt. 140 (N.D. Cal. May 14, 2024). By the same token, if the Court orders coordination
between the News Cases and this one, OpenAI and Microsoft must cross-produce any documents
that relate to both cases.

       For the foregoing reasons, the Court should enter Plaintiffs’ proposed deposition
coordination protocol.


                                              Sincerely,

LIEFF CABRASER HEIMANN               SUSMAN GODFREY LLP              COWAN, DEBAETS,
& BERNSTEINS LLP                                                     ABRAHAMS & SHEPPARD
                                                                     LLP

/s/ Rachel Geman                     /s/ Rohit Nath                  /s/ Scott J. Sholder
Rachel Geman                         Rohit Nath                      Scott J. Sholder
